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          12     WEB SERVICES, INC., and TODD
                 WEATHERBY, in his individual and
          13     professional capacities
          14                           UNITED STATES DISTRICT COURT
          15                         CENTRAL DISTRICT OF CALIFORNIA
          16     CINDY WARNER,                               CASE NO. 5:21-CV-00866-JWH-KK
          17                      Plaintiff,                 DEFENDANTS’ NOTICE OF
                                                             MOTION AND MOTION TO
          18          v.                                     DISMISS PLAINTIFF’S SECOND
                                                             AMENDED COMPLAINT
          19     AMAZON.COM, INC., AMAZON
                 WEB SERVICES, INC., and TODD                Hearing:
          20     WEATHERBY, in his individual and            Date:    September 23, 2022
                 professional capacities,                    Time:    9:00 a.m.
          21                                                 Judge:   John W. Holcomb
                                  Defendants.
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            1          TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
            2
                       PLEASE TAKE NOTICE that on September 23, 2022, at 9:00 a.m., or as soon
            3
            4    thereafter as this matter may be heard before the Honorable John W. Holcomb, in

            5    Courtroom 2 of the United States District Court for the Central District of California,
            6
                 located at 3470 12th Street, Riverside, CA 92501, Defendants AMAZON.COM, INC.
            7
            8    and AMAZON WEB SERVICES, INC. (collectively “Amazon”) and TODD
            9    WEATHERBY, in his individual and professional capacities, will and hereby do move
          10
                 this Court under Federal Rule of Civil Procedure 12(b)(6) for an order dismissing
          11
          12     Plaintiff Cindy Warner’s Second Amended Complaint (the “SAC”) with prejudice
          13     because Warner’s pay discrimination, gender discrimination, and retaliation claims fail
          14
                 as a matter of law. Alternatively, in the event the SAC is not dismissed in its entirety,
          15
          16     Defendants will and hereby do move this Court under Federal Rule of Civil Procedure
          17     12(b)(6) for an order dismissing Plaintiff’s claims against Todd Weatherby.
          18
                       First, as to the first and fifth causes of action, Plaintiff has still failed to state a
          19
          20     valid discrimination claim under Title VII of the Civil Rights Act of 1964 (“Title VII”)
          21     or the California Fair Employment and Housing Act (“FEHA”), as Plaintiff’s SAC is
          22
                 devoid of any plausible allegations that she was treated less favorably because of her
          23
          24     sex/gender. Plaintiff’s repeated, formulaic recitation that Amazon “discriminated
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                 against [her] on the basis of her sex/gender” is not sufficient.
          26
                       Second, as to the third and eighth causes of action, Plaintiff has failed to state a
          27
          28     valid discrimination claim under the Equal Pay Act (“EPA”) or the California Equal
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            1    Pay Act (“CEPA”). Despite having a second opportunity to amend her Complaint,
            2
                 Plaintiff does not—because she cannot—allege that she received less compensation
            3
            4    than any male peer who performed substantially the same work. As Defendants

            5    pointed out in their Motion to Dismiss Plaintiff’s prior pleading, Plaintiff’s allegation
            6
                 that she should have been compensated at a higher level—despite having been hired as
            7
            8    a Level 8 (“L8”)—is not actionable under the EPA or the CEPA. And Plaintiff’s
            9    conclusory assertion that she should have been compensated as a Level 10 (“L10”)
          10
                 employee because she performed work “consistent with an L10 role” is plainly
          11
          12     inadequate. As the Court aptly noted in its order, such “broad and conclusory
          13     allegations” cannot sustain equal pay claims. Plaintiff was required to set forth
          14
                 specific, factual allegations establishing that her L8 position and the position of an L10
          15
          16     male employee required substantially the same “skill, effort, and responsibility,” and
          17     she has not done so. Plaintiff’s claims under the EPA and CEPA must be dismissed.
          18
                       Third, as to the second, fourth, sixth, and ninth causes of action, Plaintiff still
          19
          20     cannot state a valid retaliation claim because she fails to allege facts from which this
          21     Court could reasonably infer that she was terminated because she complained of
          22
                 gender or pay discrimination. At a minimum, Plaintiff was required to allege that the
          23
          24     alleged decisionmaker, Todd Weatherby, was aware that she had engaged in protected
          25
                 activity or complained specifically of gender discrimination prior to her termination,
          26
                 and she has continuously failed to do so.
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            1          Fourth, even if the SAC is not dismissed in its entirety, the Court should dismiss
            2
                 Plaintiff’s EPA and CEPA claims against Weatherby because he is not an “employer”
            3
            4    under these statutes. As Defendants noted in their prior Motion to Dismiss—and as

            5    remains the case—the CEPA does not allow for individual liability for employees such
            6
                 as Weatherby who acted within the scope of their employment. And under the EPA,
            7
            8    an individual employee may not be held liable where, as here, the plaintiff fails to
            9    sufficiently allege that the individual held significant ownership and operational
          10
                 control over the employer’s day-to-day functions and decision-making authority
          11
          12     regarding the very matter about which the plaintiff complains. As before, Plaintiff
          13     does not allege facts sufficient to satisfy this requirement and instead relies on wholly
          14
                 conclusory and contradictory allegations.
          15
          16           This Motion is based upon this Notice of Motion, the attached Memorandum of
          17     Points and Authorities, all other pleadings and papers on file in this action, any oral
          18
                 argument that may be heard by the Court, and any other matters that the Court may
          19
          20     deem appropriate.
          21           Pursuant to Local Rule 7-3, this Motion is made following the conference of
          22
                 counsel, which took place on August 18, 2022. During that conference, the parties
          23
          24     were unable to resolve the issues presented in this Motion.
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            1    Dated: August 26, 2022
            2                                        JASON C. SCHWARTZ
                                                     ZAINAB N. AHMAD
            3                                        LAUREN M. BLAS
                                                     GIBSON, DUNN & CRUTCHER LLP
            4
            5
                                                     By: /s/ Lauren M. Blas
            6                                                Lauren M. Blas
            7                                        Attorneys for Defendants AMAZON.COM,
                                                     INC., AMAZON WEB SERVICES, INC., and
            8                                        TODD WEATHERBY, in his individual and
                                                     professional capacities
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            1                                     I.    INTRODUCTION
            2
                         Plaintiff has continuously failed to state a valid claim for relief. Despite having
            3
            4    two opportunities to amend her Complaint, Plaintiff does not—because she cannot—

            5    allege sufficient facts to support her claims. Instead, Plaintiff has left in her SAC the
            6
                 broad and conclusory statements that this Court already found insufficient. As a result,
            7
            8    Plaintiff still fails to plausibly allege that she was paid less than any male co-worker
            9    for equal work, that she was deprived of opportunities given to male employees
          10
                 because of her gender, or that she was retaliated against because she complained about
          11
          12     alleged gender discrimination or unequal pay. Plaintiff’s SAC must be dismissed in its
          13     entirety, with prejudice.
          14
                         Plaintiff’s gender discrimination claims under Title VII and the FEHA are
          15
          16     wholly inadequate because she still fails to plausibly allege that Amazon took any
          17     action against her because of her gender. Both statutes require specific, factual
          18
                 allegations showing “an employer has treated [the plaintiff] less favorably than others
          19
          20     because of a protected trait.” Wood v. City of San Diego, 678 F.3d 1075, 1081 (9th
          21     Cir. 2012) (emphasis added). As this Court noted, Plaintiff’s allegations on this point
          22
                 are “‘broad and conclusive’ and, therefore, insufficient to state a claim.” Dkt. 38 at 12.
          23
          24     Plaintiff’s bare claim that Amazon “discriminated against [her] on the basis of her
          25
                 sex/gender” does not pass muster. SAC ¶ 211; FAC ¶ 176.1
          26
          27
          28      1
                      “FAC” refers to Warner’s Amended Complaint, filed on August 6, 2021. Dkt. 28.
                                                         1
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            1          Warner’s pay discrimination claims are similarly deficient. Warner continues to
            2
                 claim that even though she interviewed and was hired for an L8 role, she was entitled
            3
            4    to compensation as an L10 because she believes she excelled at her job. This

            5    allegation does not entitle her to relief under the EPA or CEPA. Critically, Warner
            6
                 never alleges she was paid less than any male employees at her L8 level. Rather, she
            7
            8    claims she was either entitled to a promotion to an L10 role or should have been
            9    compensated as an L10. But failure to promote is not a valid basis for a pay
          10
                 discrimination claim. See Williams v. Boeing Co., 517 F.3d 1120, 1131 (9th Cir.
          11
          12     2008). Nor does Warner provide any “specific, factual allegations” demonstrating she
          13     was paid less than male employees in positions that required the same “skill, effort,
          14
                 and responsibility.” Banawis-Olila v. World Courier Ground, Inc., 2016 WL 4070133,
          15
          16     at *3 (N.D. Cal. July 29, 2016). Instead, Warner alleges she should have received the
          17     same compensation as Dave Lavanty, a male ProServe employee, after his promotion
          18
                 to an L10 role, even though she continues to concede he was her “superior,” SAC ¶
          19
          20     115—an admission that doomed her last Complaint, see Dkt. 38 at 14. And Warner
          21     now alleges Lavanty gained “increased influence and access” at Amazon with his
          22
                 promotion. SAC ¶ 115. These allegations belie Plaintiff’s claim. See Dkt. 38 at 13.
          23
          24     Warner’s EPA and CEPA discrimination claims must be dismissed.
          25
                       Warner’s retaliation claims under Title VII, the EPA, and their California
          26
                 counterparts must also be dismissed. Each statute requires “but-for” causation
          27
          28     between a “protected activity” and an adverse action, and Warner still fails to meet this
                                                           2
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            1    requirement. She alleges she complained to Amazon in general of gender
            2
                 discrimination, but she still fails to allege that Weatherby in particular was aware of
            3
            4    these complaints prior to his purported role in her removal from ProServe or her

            5    termination. Indeed, while she now alleges Weatherby was aware of her April 7 letter,
            6
                 she fails to allege Weatherby was aware of that letter’s contents prior to his supposed
            7
            8    involvement in her removal or termination. Moreover, Warner alleges she separately
            9    complained in writing to Weatherby of “systemic bias, racism and discrimination”
          10
                 prior to her removal, id. ¶ 172, but she fails to plausibly allege she complained to
          11
          12     Weatherby of gender discrimination in particular. Therefore, she fails to allege the
          13     requisite causal connection, as she does not allege facts to support her barebones
          14
                 conclusion that Amazon retaliated against her “for complaining about unequal
          15
          16     treatment . . . on the basis of sex/gender.” Id. ¶ 218 (emphasis added). Warner’s
          17     retaliation claims should be dismissed.
          18
                       Even if the SAC is not dismissed in its entirety, as it should be, the EPA and
          19
          20     CEPA claims against Weatherby must be dismissed. An individual employee may be
          21     held liable under the EPA only if that employee has significant ownership in the
          22
                 company and has “control over the nature and structure of the employment
          23
          24     relationship.” Boucher v. Shaw, 572 F.3d 1087, 1091 (9th Cir. 2009). That is not the
          25
                 case here. Although Plaintiff now claims that Weatherby’s approval was “necessary to
          26
                 terminate” her (SAC ¶ 174), she admits that he did not have control over this decision,
          27
          28     as the approval of “other Amazon officials” was also “necessary.” Id. Similarly, while
                                                           3
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            1    Plaintiff continues to set forth the conclusory allegation that Weatherby “was
            2
                 responsible for the hiring and termination decisions for all ProServe employees at Ms.
            3
            4    Warner’s level,” she concedes that those decisions were required to be “reviewed . . .

            5    by other Amazon personnel.” Id. ¶ 45. These allegations preclude her claim that
            6
                 Weatherby is an “employer” who may be held liable under the EPA. Further, under
            7
            8    California law, individual employees are expressly barred from liability under the
            9    CEPA. See Jones v. Thyssenkrupp Elevator, 2005 WL 8177458, at *10 (N.D. Cal.
          10
                 Dec. 22, 2005). Therefore, Warner’s claims against Weatherby must be dismissed.
          11
          12                               II.    FACTUAL BACKGROUND2
          13             Plaintiff Cindy Warner joined Amazon in February 2020 as a Global Leader of
          14
                 Strategic Program Management in Amazon Web Services’ Professional Services
          15
          16     (“ProServe”) division. SAC ¶ 43. Warner interviewed with Amazon in December
          17     2019 and was subsequently offered a Global Leader role within ProServe, an L8
          18
                 position. Id. ¶¶ 39, 41. Although she interviewed for, was hired for, and accepted an
          19
          20     L8 position, Warner continues to allege she was qualified for an L10 Vice President
          21     position and was told that she could apply for an L10 position if and when one became
          22
                 available in ProServe. Id. ¶¶ 38, 40, 43. Warner was paid a salary, bonus, and
          23
          24     restricted stock units that brought her total annual compensation to approximately
          25
                 $890,000. Id. L10 employees are typically paid more than L8s. Id. ¶ 111.
          26
          27
          28      2
                      The allegations in the SAC are treated as true for purposes of this motion only.
                                                              4
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            1          Upon her arrival at Amazon, Warner claims Weatherby, her manager and a Vice
            2
                 President at ProServe, prevented her from taking on more responsibility or receiving a
            3
            4    promotion to an L10. Id. ¶¶ 35, 49-51. Warner claims Weatherby “had the authority

            5    to dictate the scope and nature of [her] role” and “controlled the terms and conditions
            6
                 of her employment (including her compensation and the ability to hire and fire).” Id.
            7
            8    ¶¶ 35, 45. Warner alleges Weatherby “refused” to consider Warner “or anyone else in
            9    her ‘L8 peer group’” for an L10 position that opened up in January 2021. Id. ¶¶ 60-62.
          10
                       Warner claims Dave Lavanty was promoted from an L8 to the L10 role. Id. ¶
          11
          12     98. According to Warner, prior to his promotion, Lavanty had “been the subject of
          13     various harassment, discrimination, and other complaints.” Id. ¶ 99. Warner alleges
          14
                 Lavanty called her a “bitch,” an “idiot,” and a “nobody” in the presence of Human
          15
          16     Resources (“HR”) Representative Ed Salas on February 15, 2021. Id. ¶¶ 75-80. She
          17     claims Salas raised the issue with HR and Employee Relations (“ER”), but ultimately
          18
                 the decision about how to address Lavanty’s behavior was left to Weatherby. Id. ¶¶
          19
          20     82-83, 84-85. Warner alleges in late February 2021, “it was expressly discussed with
          21     [her] . . . that Mr. Lavanty’s conduct” violated Amazon’s policies against harassment
          22
                 and discrimination. Id. ¶ 86. Lavanty was allegedly “spared from any discipline or
          23
          24     consequences” and was promoted to an L10 position on or around March 11, 2021. Id.
          25
                 ¶¶ 98, 102. Warner claims Weatherby “excused and intentionally assisted Mr. Lavanty
          26
                 in carrying out his discriminatory conduct.” Id. ¶ 101. She alleges she was
          27
          28     “undoubtably far more qualified than Mr. Lavanty” for the role. Id. ¶ 103.
                                                          5
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            1          Warner alleges that, despite holding an L8 role throughout her time at Amazon,
            2
                 she was performing “work that was consistent with an L10 role” while being denied
            3
            4    “the same compensation and title/level that they provided to her equally or less

            5    experienced male colleagues at the Company who were officially designated as L10
            6
                 employees.” Id. ¶¶ 104, 111. Warner claims Lavanty’s “L10 designation did not come
            7
            8    with any discernible increase in ambit or responsibility” and, therefore, she was
            9    “performing substantially similar work” to Lavanty for less pay. Id. ¶ 106. Warner
          10
                 claims Weatherby and other ProServe executives repeatedly treated male and female
          11
          12     employees differently. Id. ¶¶ 117, 131-34. She also alleges that, on unspecified dates,
          13     she pointed out to Weatherby that men were treated more favorably than women at
          14
                 ProServe, and Weatherby “decline[d] to respond.” Id. ¶ 147. Warner claims that
          15
          16     during discussions about the “Strategic Program Leaders” project she developed, her
          17     “male colleagues . . . would demean and belittle her ideas.” Id. ¶ 154. According to
          18
                 Warner, Weatherby gave these male colleagues “the go-ahead” to take over the project
          19
          20     without consulting her, and these “male colleagues utilized the very job descriptions
          21     and plans that they openly tore apart in previous team meetings.” Id. ¶ 157.
          22
                       Finally, Warner alleges Amazon and Weatherby retaliated against her for
          23
          24     coming forward with unequal pay and discrimination claims against the Company by
          25
                 terminating her. Id. ¶¶ 170, 173. Warner alleges on April 7, 2021, “Amazon was
          26
                 specifically informed” through a letter that she believed Amazon’s conduct violated
          27
          28     Title VII and the EPA, and she alleges an unnamed “member of HR responsible for
                                                            6
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            1    ProServe” confirmed that Weatherby was aware of the letter. Id. ¶¶ 170-71. Warner
            2
                 also alleges that on April 14, 2021, she informed Weatherby and Toni Handler in HR
            3
            4    that her unhappiness with ProServe “was connected to ‘systemic bias, racism and

            5    discrimination that [she] ha[d] witnessed in ProServe.’” Id. ¶ 172. On April 28, 2021,
            6
                 Warner was allegedly notified that she was being terminated from her position in
            7
            8    ProServe and would have 60 days to find a position outside of ProServe at Amazon.
            9    Id. ¶¶ 18, 173. When Warner failed to secure another position by the end of the 60-day
          10
                 job search period, id. ¶ 182 & n.7, she was terminated on June 30, 2021. Id. ¶¶ 204-05.
          11
          12           On May 19, 2021, Warner filed her initial Complaint. Dkt. 1. Defendants
          13     waived service of the Complaint on May 25, 2021, Dkt. 21, and filed a Motion to
          14
                 Dismiss on July 20, Dkt. 25. On August 6, 2021, Warner filed the FAC, asserting five
          15
          16     additional causes of action. Dkt. 28. As a result, the Court denied Defendants’ initial
          17     Motion to Dismiss as moot. Dkt. 29. On August 20, 2021, Defendants filed a Motion
          18
                 to Dismiss the FAC, Dkt. 30, which the Court granted without prejudice on July 5,
          19
          20     2022. Dkt. 38. Warner filed the SAC on July 29, 2022. Dkt. 44.
          21           Warner asserts the following claims: (1) discrimination in violation of Title VII
          22
                 against Amazon, (2) retaliation in violation of Title VII against Amazon, (3) EPA
          23
          24     violations against all Defendants, (4) retaliation in violation of the EPA against all
          25
                 Defendants, (5) discrimination in violation of the FEHA against Amazon, (6)
          26
          27
          28
                                                             7
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            1    retaliation in violation of the FEHA against Amazon, (7) CEPA violations against all
            2
                 Defendants, and (8) retaliation in violation of the CEPA against all Defendants.3
            3
            4                                   III.    LEGAL STANDARD

            5             A complaint should be dismissed under Federal Rule of Civil Procedure
            6
                 12(b)(6) where the plaintiff fails to assert a “cognizable legal theory” or the complaint
            7
            8    lacks “sufficient facts . . . [to support] a cognizable legal theory.” Conservation Force
            9    v. Salazar, 646 F.3d 1240, 1242 (9th Cir. 2011) (citation omitted). To survive a
          10
                 motion to dismiss, the complaint “must contain sufficient factual matter, accepted as
          11
          12     true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S.
          13     662, 678 (2009). “[A] plaintiff’s obligation to provide the ‘grounds’ of h[er]
          14
                 ‘entitlement to relief’ requires more than labels and conclusions, and a formulaic
          15
          16     recitation of the elements of a cause of action will not do.” Bell Atl. Corp. v. Twombly,
          17     550 U.S. 544, 555 (2007) (citation omitted). Therefore, “a court need not accept as
          18
                 true unreasonable inferences, unwarranted deductions of fact, or conclusory legal
          19
          20     allegations cast in the form of factual allegations.” Kevari v. Scottrade, Inc., 2018 WL
          21     6136822, at *2 (C.D. Cal. Aug. 31, 2018) (citation omitted).
          22
                                                       IV.   ARGUMENT
          23
          24              Warner’s SAC consists of all of the same conclusory statements, irrelevant
          25
                 assertions, and formulaic recitations that this Court previously found to be inadequate.
          26
          27
                 3
                     Plaintiff stipulated to voluntarily dismiss her FEHA aiding and abetting claim against
          28         Weatherby (the Seventh Cause of Action). See Dkt. 46.
                                                                 8
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            1    First, Warner does not state a claim of gender discrimination under Title VII or the
            2
                 FEHA because she fails to plausibly allege she experienced disparate treatment because
            3
            4    of her gender. Second, Warner has not added any facts to support her threadbare claim

            5    that she was paid less than any male employee for equal work. And to the extent
            6
                 Plaintiff’s equal pay claims are based on Amazon’s decision to promote a male peer
            7
            8    instead of her, failure to promote is not actionable under the EPA. Third, Plaintiff’s
            9    allegations that Amazon retaliated against her are fatally flawed because she fails to
          10
                 assert that the alleged decisionmaker, Weatherby, had sufficient knowledge of Plaintiff’s
          11
          12     purported complaints of discrimination and fired her because of those complaints.
          13     Fourth, Plaintiff cannot hold Weatherby liable under the EPA or the CEPA because he
          14
                 is not an “employer.”
          15
          16           A.     Plaintiff Still Fails to State a Claim for Gender Discrimination Under
                              Title VII or the FEHA.
          17
          18           Warner continues to assert only “broad and conclusive” allegations that “fail[] to

          19     provide specific details to substantiate the claim” that she experienced disparate
          20
                 treatment because of her gender. Dkt. 38 at 12 (citation omitted); see id. (concluding
          21
          22     that Warner’s allegations “could just as easily be explained by” factors other than

          23     gender). As this Court underscored in its order, a plaintiff can only state a claim of
          24
                 gender discrimination under Title VII or the FEHA if she plausibly alleges that “an
          25
          26     employer has treated [her] less favorably than others because of a protected trait.”

          27
          28
                                                             9
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            1    Wood, 678 F.3d at 1081 (emphasis added).4 Where there are no plausible allegations
            2
                 that the protected trait “actually motivated the employer’s decision,” the claim fails.
            3
            4    Id. (quoting Hazen Paper Co. v. Biggins, 507 U.S. 604, 610 (1993)).

            5            Here, Warner continues to allege, in wholly conclusory terms, that Amazon
            6
                 “subject[ed] her to disparate treatment and discriminatory denial of advantageous
            7
            8    terms and conditions of employment available to male employees, including . . .
            9    subjecting her to disparate working conditions,” FAC ¶¶ 176, 198; SAC ¶¶ 211, 233,
          10
                 and that her termination “constitute[d] discrimination based on sex/gender,” FAC
          11
          12     ¶¶ 178, 199; SAC ¶¶ 213, 234. As this Court agreed, such “broad and conclusive”
          13     allegations are plainly insufficient. See Dkt. 38 at 12 (citation omitted); see also Olsen
          14
                 v. Hortica Ins. Co., 2022 WL 464173, at *5 (N.D. Cal. Feb. 15, 2022) (dismissing
          15
          16     FEHA claim based on “generalized personal conclusions” without “facts in the
          17     complaint from which the Court [could] infer that the harassment occurred because
          18
                 [plaintiff] was a member of a protected group”).
          19
          20             In response to this Court’s order, Plaintiff attempts to provide additional
          21     “example[s]” of preferential treatment; namely, that “male colleagues” “belittle[d]
          22
                 [her] ideas” in connection with the “Strategic Program Leaders” project, to whom
          23
          24     Weatherby “gave . . . the go-ahead to take over.” SAC ¶¶ 154-57. This allegation
          25
                 suffers from the same fatal flaw as her other purported “example[s].” As this Court
          26
          27
                 4
                     The same standard applies to Title VII and FEHA claims. See Vizcaino v. Areas
          28         USA, Inc., 2015 WL 13573816, at *4 n.7 (C.D. Cal. Apr. 17, 2015).
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            1    noted, while Weatherby’s alleged decision “could be explained by gender, [it] could
            2
                 just as easily be explained by [these male colleagues] having a stronger relationship
            3
            4    with Weatherby than [Weatherby] did with Warner,” dooming her claims. Dkt. 38 at

            5    12. Plaintiff’s conclusory assertion that the “abusive conduct” of these “male
            6
                 colleagues . . . was motivated by hostility to a senior woman among their ranks,” SAC
            7
            8    ¶ 157, does nothing to save her claims. And Warner’s new allegations of “patterns of
            9    gender discrimination” within ProServe, just like her prior allegations of “systemic
          10
                 mistreatment of women,” Dkt. 38 at 12, are detrimentally vague. See, e.g., SAC ¶ 158
          11
          12     (alleging a “woman in ProServe experienced very similar patterns of gender
          13     discrimination . . . throughout 2020”); id. ¶ 168 (alleging “another high-level employee
          14
                 in ProServe . . . made several complaints about pay disparities with respect to female
          15
          16     employees” from October 2020 to August 2021); see also Ryan v. Santa Clara Valley
          17     Transp. Auth., 2017 WL 1175596, at *13 (N.D. Cal. Mar. 30, 2017) (dismissing
          18
                 discrimination claim based on “broad and conclusive statements”).
          19
          20           Finally, Warner continues to allege that a comment by Lavanty, see FAC ¶ 78,
          21     SAC ¶ 80, supports her discrimination claim against Amazon and Weatherby. But as
          22
                 Defendants noted in their prior Motion to Dismiss briefing, Warner provides no causal
          23
          24     link between Lavanty’s alleged statement and Weatherby’s decision not to promote
          25
                 her. See Dkt. 34 at 6 n.2. Courts in this Circuit have made clear that “statements by
          26
                 nondecisionmakers” like Lavanty do not amount to evidence of discrimination. See
          27
          28     Williams v. Camden USA, Inc., 2020 WL 953285, at *7 (S.D. Cal. Feb. 26, 2020)
                                                       11
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            1    (dismissing disparate treatment claim under the FEHA). Therefore, Warner’s gender
            2
                 discrimination claims must be dismissed.
            3
            4          B.     Plaintiff Still Fails to State a Discrimination Claim Under the EPA or
                              the CEPA.
            5
                       Although Warner has had multiple opportunities to amend her Complaint,
            6
            7    Warner’s SAC still fails to plausibly state an EPA or CEPA claim. Warner does not
            8
                 (and cannot) allege she was paid less than any male peers who performed equal work.
            9
                       As Defendants explained in their last Motion to Dismiss, to sufficiently plead a
          10
          11     violation of the EPA, an employee must allege: (1) that different wages are paid to
          12
                 employees of the opposite sex; (2) that the employees do equal work, which requires
          13
          14     equal skill, effort and responsibility; and (3) that the employees have similar working

          15     conditions. See Stanley v. Univ. of S. Calif., 13 F.3d 1313, 1321 (9th Cir. 1994);
          16
                 Werner v. Advance Newhouse P’ship, LLC, 2013 WL 4487475, at *5 (E.D. Cal. Aug.
          17
          18     19, 2013); Dkt. 30 at 11. The requirements are the same under the CEPA. See Vega v.

          19     Honeywell Int’l, Inc., 2021 WL 1226483, at *14 (S.D. Cal. Mar. 30, 2021). Despite
          20
                 having taken multiple bites at the apple, Plaintiff’s claims still fall far short.
          21
          22           Plaintiff’s SAC remains devoid of sufficient allegations to support her bare

          23     conclusion that Defendants paid higher wages to male employees because of their
          24
                 gender. See SAC ¶¶ 224, 249. Plaintiff was hired to perform an L8 role, id. ¶¶ 41-42,
          25
          26     yet she does not allege any facts about how her salary differed from male employees at

          27     the same L8 level. Lacking any specific, factual allegations about how her pay
          28
                                                              12
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            1    compared to male employees at her level, Plaintiff’s conclusory statement that
            2
                 Amazon “discriminated against Plaintiff on the basis of her gender by paying Plaintiff
            3
            4    a lesser rate of pay . . . than that paid to male employees performing the same or

            5    substantially similar job duties,” id. ¶¶ 224, 249, remains wholly insufficient. See, e.g.,
            6
                 Werner, 2013 WL 4487475, at *5 (dismissing EPA claim based on barebones
            7
            8    allegations that a plaintiff “was paid less than similarly situated male employees”).
            9          Given the absence of any L8 comparators, Warner doubles down on her theory
          10
                 that she should have been compensated at the higher L10 level, parroting the same
          11
          12     language from her first two Complaints. See SAC ¶ 111; FAC ¶ 106. This argument
          13     plainly fails. See Dkt. 38 at 14 (finding insufficient Warner’s “broad and conclusory
          14
                 allegations that her work was ‘consistent with an L10 role,’ but it lacked the L10
          15
          16     compensation”).
          17           As to Warner’s apparent allegation that Amazon discriminated against her by
          18
                 either not hiring her at the L10 level or not promoting her to an L10 role, neither action
          19
          20     constitutes a violation of the EPA. The EPA is limited to gender-based differentials in
          21     wages—it does not encompass discrimination in hiring, firing, promotion, or transfer.
          22
                 See Williams, 517 F.3d at 1131; Dkt. 30 at 12. Here, Warner still fails to allege any
          23
          24     salary differences apart from promotion-related differences, dooming her claims.
          25
                       The principal basis of Warner’s claims continues to be that she was allegedly
          26
                 excelling at her L8 role and, therefore, she should have been promoted to or
          27
          28     compensated at the L10 level. However, “[t]he EPA does not guarantee an
                                                         13
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            1    individual’s right to have h[er] employer record h[er] achievements at work.” Flores
            2
                 v. Red Robin, 2018 WL 3811725, at *5 (E.D. Cal. Aug. 9, 2018). Instead, the EPA and
            3
            4    CEPA require that employees of the opposite sex are paid the same wages for equal

            5    work. 29 U.S.C. § 206(d)(1); Cal. Lab. Code § 1197.5(a).
            6
                       Warner also continues to allege that Amazon discriminated against her by not
            7
            8    paying her the same compensation as men at the L10 level because, despite her L8 title
            9    and compensation level, she was required “to perform work that was consistent with an
          10
                 L10 role,” SAC ¶ 111; FAC ¶ 106—an allegation that this Court found to be “broad
          11
          12     and conclusory.” Dkt. 38 at 14. To withstand dismissal of claims under both the EPA
          13     and the CEPA, a plaintiff must plausibly allege—and not merely assert—that “the jobs
          14
                 being compared are substantially equal.” Werner, 2013 WL 4487475, at *5
          15
          16     (dismissing EPA claim that was only supported by the mere “legal conclusion” that
          17     male employees who were paid more than the plaintiff were “similarly situated”
          18
                 without any “factual support” (citation omitted)). To adequately plead that jobs are
          19
          20     “substantially equal,” Plaintiff must aver “sufficient specific, factual allegations
          21     comparing the ‘skill, effort, and responsibility’” between her L8 position and the L10
          22
                 position of a male employees who she alleged received higher pay. Banawis-Olila,
          23
          24     2016 WL 4070133, at *3 (emphasis added) (citation omitted). She fails to do so.
          25
                       As in both of Warner’s prior Complaints, the SAC still emphasizes that she was
          26
                 “often” sent to meetings “as a surrogate for Mr. Weatherby” in an attempt to support
          27
          28     the conclusion that she was entitled to an L10 salary. SAC ¶ 105; FAC ¶ 101. But as
                                                            14
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            1    Defendants previously noted, subordinates are often sent to meetings in place of their
            2
                 managers (as associates are often sent to court in place of partners). See Dkt. 25 at 12;
            3
            4    Dkt. 30 at 15. That does not, of course, make their jobs equivalent in skill, effort, or

            5    responsibility. Indeed, as this Court recognized, “[i]n all sorts of workplaces,
            6
                 employees at different levels share some of the same responsibilities.” Dkt. 38 at 14.
            7
            8          Moreover, Plaintiff’s vague assertion that her involvement in “various groups
            9    and initiatives . . . combined to more than a typical L8 role,” SAC ¶ 105, likewise fails
          10
                 to provide the “specific, factual allegations” needed to demonstrate that her position
          11
          12     required the same “skill, effort, and responsibility” as that of an L10. Banawis-Olila,
          13     2016 WL 4070133, at *3. Warner’s claim that her unspecified role in unidentified
          14
                 “groups and initiatives” should have warranted compensation above her L8 level is far
          15
          16     from sufficient. Indeed, even if Warner’s allegation that her involvement in some
          17     “groups and initiatives . . . combined to more than a typical L8 role” were somehow
          18
                 sufficiently specific (it is not), it would still fall short of supporting the conclusion that
          19
          20     her role was substantially similar to that of an L10. This assertion suggests—at
          21     most—that her role was above that of a “typical” L8. See SAC ¶ 105. That does not
          22
                 mean that her role was equal to an L10.
          23
          24           And as in Plaintiff’s prior Complaints, the only specific L10 employee to whom
          25
                 Warner compares herself in the SAC is Lavanty, and this comparison once again fails.
          26
                 This Court dismissed Warner’s FAC because “Warner acknowledge[d] . . . that once
          27
          28     Lavanty reached the L10 level, he became ‘her superior,’ which implies that Lavanty
                                                         15
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            1    had more authority than Warner had,” dooming her claim. Dkt. 38 at 14. Warner
            2
                 continues to allege that Lavanty’s promotion made him her “superior,” SAC ¶ 115,
            3
            4    repeating the fatal flaw that already led this Court to dismiss. In fact, Warner now

            5    alleges Lavanty’s promotion offered him “increased influence and access,” id.
            6
                 (emphasis added), contradicting her assertion that her and Lavanty’s roles remained
            7
            8    substantially similar upon his promotion. See id. ¶ 107 (alleging Lavanty did not
            9    receive “any . . . greater authority”). Because these allegations are “inconsistent,” “the
          10
                 court need not accept [them] as true.” Walsh v. AMD Sacramento, 2014 WL 4472752,
          11
          12     at *10 n.7 (E.D. Cal. Sept. 11, 2014), report and recommendation adopted (E.D. Cal.
          13     Dec. 29, 2014), aff’d sub nom. Walsh v. Am. Med. Response, 684 F. App’x 610 (9th
          14
                 Cir. 2017).
          15
          16           Even without these fatal concessions, Warner’s SAC lacks plausible allegations
          17     that she and the newly promoted Lavanty performed the same job. As before, Warner
          18
                 continues to assert without apparent foundation that “little to no changes were made to
          19
          20     [Lavanty’s] job duties” in the L10 role—a role he held for just six weeks before
          21     Warner was relieved of her responsibilities within ProServe—plainly leaving room for
          22
                 some unspecified changes. Id. ¶ 106 (emphasis added). Therefore, Warner has failed
          23
          24     to state a viable discrimination claim under the EPA or the CEPA.
          25
                       C.      Plaintiff Still Fails to Plausibly Allege Retaliation.
          26
                       Warner’s retaliation claims are also deficient. Warner has not alleged (and
          27
          28     cannot allege) sufficient facts from which this Court could reasonably infer that she
                                                            16
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            1    was terminated because she complained about unlawful gender discrimination or
            2
                 unequal pay. To state a valid retaliation claim under Title VII, the EPA, or their
            3
            4    California equivalents, a plaintiff must show that she engaged in “protected activity”

            5    that “was a but-for cause of the alleged adverse action by the employer.” Univ. of Tex.
            6
                 Sw. Med. Ctr. v. Nassar, 570 U.S. 338, 362 (2013). To plausibly allege such a causal
            7
            8    link, a plaintiff must allege that a complaint of discrimination was a “likely” reason for
            9    her termination. See Griffith v. Logisticare Sols., LLC, 2017 WL 8222609, at *4 (C.D.
          10
                 Cal. June 15, 2017). Plaintiff has failed to do so.
          11
          12                  1.     Plaintiff Still Fails to Plausibly Allege Retaliation Under Title
                                     VII or the FEHA.
          13
          14           As in her prior Complaints, Warner fails to allege that Weatherby (the alleged
          15     decisionmaker at Amazon) knew she had complained of gender discrimination prior to
          16
                 her removal or termination. Therefore, she still fails to allege a plausible causal
          17
          18     connection between any protected activity and her termination. See Dkt. 38 at 16.
          19           Warner continues to make allegations that the Court already found insufficient.
          20
                 See, e.g., SAC ¶ 170 (alleging “Amazon received [the April 7] letter” and that
          21
          22     “Amazon was specifically informed” of her grievances (emphases added)). As before,
          23     “Warner asse[r]ts only that Amazon knew of the protected activity” prior to her
          24
                 removal from ProServe, Dkt. 38 at 16; she fails to allege Weatherby received or even
          25
          26     was aware of this letter before he supposedly participated in any decision to remove
          27
                 her from her role within ProServe or terminate her employment. Likewise, she
          28
                                                            17
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            1    continues to vaguely allege she escalated concerns of bias, but provides no indication
            2
                 Weatherby was aware of such escalations. Id. ¶ 52.
            3
            4          Warner’s new allegations fail to nudge her retaliation claims any closer to

            5    plausibility. She now alleges she complained to individuals in HR and ER, while still
            6
                 failing to allege that Weatherby himself was aware of these complaints prior to her
            7
            8    removal or termination. E.g., SAC ¶ 94. Likewise, while she now alleges “it was
            9    expressly discussed with Ms. Warner . . . that Mr. Lavanty’s conduct . . . pointed
          10
                 toward violations of” Amazon’s policies, she fails to allege any facts to support her
          11
          12     conclusory assertion that “Mr. Weatherby and Amazon” were “aware” of any
          13     “complaint” she might have made in this regard. Id. ¶ 86; see Sprewell v. Golden State
          14
                 Warriors, 266 F.3d 979, 988 (9th Cir. 2001) (a court need not accept “unreasonable
          15
          16     inferences” in a complaint).
          17           Critically, although Warner now alleges Weatherby was aware of the April 7
          18
                 letter, she fails to allege that Weatherby became aware of this letter’s contents prior to
          19
          20     his purported involvement in her removal from ProServe or her termination. See, e.g.,
          21     SAC ¶ 171 (alleging Weatherby “was informed” of the letter, but failing to specify
          22
                 when). Indeed, she suggests that someone at Amazon “receiv[ed] her attorneys’ letter”
          23
          24     prior to her removal, but she does not allege that Weatherby received or even was
          25
                 aware of the letter at that time. Id. ¶ 173; see id. ¶ 18 (alleging Weatherby “was aware
          26
                 of her attorneys’ letter” but failing to allege this awareness arose prior to her removal).
          27
          28     Absent this critical allegation, her retaliation claims must fail. Cf. Dkt. 38 at 16.
                                                               18
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            1          Her allegations regarding the March 8, 2021 phone call between Warner,
            2
                 Weatherby, Lavanty, and Toni Handler from HR are similarly insufficient. See SAC
            3
            4    ¶¶ 89-93. Warner does not allege she suggested to Weatherby during that phone call

            5    that Lavanty’s alleged comments were discriminatory. See id. ¶¶ 91-92. Instead, she
            6
                 now concedes that “the reason for the meeting” was to discuss Lavanty’s alleged
            7
            8    takeover of a customer relationship—not to bring any alleged statements by Lavanty to
            9    Weatherby’s attention. Id. ¶ 89. Accordingly, Warner’s conclusory assertion that
          10
                 Weatherby’s failure to discuss Lavanty’s alleged statements during this call somehow
          11
          12     “demonstrate[s] [Weatherby’s] clear retaliatory animus,” id. ¶ 91, presents an
          13     unreasonable inference this Court should reject. See Sprewell, 266 F.3d at 988.
          14
                       Indeed, throughout the SAC, Warner continues to rely on wholly conclusory
          15
          16     assertions instead of offering factual allegations. For instance, she asserts her
          17     termination was a “blatantly retaliatory move against [her] that proved Defendants’
          18
                 animus and hostility against her.” SAC ¶ 18. But she fails to allege any facts to
          19
          20     support this assertion. Rather, in an attempt to allege her termination was retaliatory
          21     and motivated by discriminatory animus, she alleges merely she was terminated and
          22
                 suggests that the termination somehow demonstrates animus. This is insufficient.
          23
          24           In the same vein, Warner fails to allege any facts to support her barebones
          25
                 assertion that “Defendants retaliated against [her] for complaining about unequal
          26
                 treatment of herself and others on the basis of sex/gender” in particular. SAC ¶ 218
          27
          28     (emphasis added). Warner alleges merely she informed Weatherby that “her
                                                        19
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            1    unhappiness with her time in ProServe was connected to ‘systemic bias, racism and
            2
                 discrimination that [she] . . . witnessed in ProServe.’” Id. ¶ 172. She fails to allege she
            3
            4    complained to Weatherby of unlawful gender discrimination in a manner that was

            5    “sufficiently clear and detailed,” Kasten v. Saint-Gobain Performance Plastics Corp.,
            6
                 563 U.S. 1, 14 (2011), such that she could plausibly assert retaliation “for complaining
            7
            8    about unequal treatment . . . on the basis of sex/gender,” SAC ¶ 218 (emphasis added).
            9    Warner therefore fails to show “but-for” causation between any protected activity and
          10
                 an adverse employment action. Nassar, 570 U.S. at 360. She therefore fails to allege a
          11
          12     plausible causal link between Weatherby’s awareness that she engaged in any
          13     protected activity under Title VII or the FEHA and her alleged termination for
          14
                 complaining about unequal treatment on the basis of gender. See Dkt. 38 at 16 & n.80;
          15
          16     cf. Walls v. Kiewit Corp., 2019 WL 8685070, at *6 (C.D. Cal. Dec. 17, 2019).
          17     Warner’s Title VII and FEHA retaliation claims must be dismissed.
          18
                               2.     Plaintiff Still Fails to Plausibly Allege Retaliation Under the
          19                          EPA or the CEPA.
          20
                         Warner also fails to plausibly allege retaliation under the EPA or the CEPA.5 To
          21
          22     support her claims, Warner alleges merely she “raise[d] . . . concerns with Mr.
          23     Weatherby during team leadership meetings in early April 2021” that “she believed”
          24
                 four unnamed employees “were being paid less than several of their male colleagues
          25
          26
          27      5
                      Courts rely on cases interpreting Title VII retaliation claims when analyzing
                      retaliation claims under the EPA, which is codified as part of the Fair Labor
          28          Standards Act (“FLSA”). See Dkt. 30 at 9 n.3.
                                                              20
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            1    because of their gender.” SAC ¶ 56. She does not present any specific, factual
            2
                 allegations to demonstrate her belief was reasonable—that is, that these unidentified
            3
            4    women were performing equal work to their male colleagues—as required to show she

            5    engaged in protected activity under the EPA or CEPA. See Werner, 2013 WL
            6
                 4487475, at *5; Flores, 2018 WL 3811725, at *5 (dismissing retaliation claim where
            7
            8    the plaintiff did “not allege that he complained to his supervisor that [defendant] paid a
            9    female employee more than [him] for the same work” (emphasis added)). She also
          10
                 fails to allege any facts to support the conclusion that she was plausibly terminated
          11
          12     because of this complaint. Warner’s retaliation claims under the EPA and CEPA must
          13     therefore be dismissed.
          14
                       D.     Plaintiff’s Claims Against Weatherby in His Individual Capacity
          15                  Must Be Dismissed.
          16
                       Plaintiff’s claims against Weatherby must be dismissed because neither the
          17
          18     CEPA nor the EPA allow for individual liability based on such conclusory allegations.

          19           With respect to the CEPA, as Defendants noted in their Motion to Dismiss the
          20
                 FAC, individual employees like Weatherby cannot be held liable when acting within
          21
          22     the scope of their employment. See Martinez v. Combs, 231 P.3d 259, 277-79 (Cal.

          23     2010); Mayfield v. Cnty. of Merced, 2014 WL 5823028, at *6 (E.D. Cal. Nov. 10,
          24
                 2014) (“[I]ndividual corporate agents acting within the scope of their agency are not
          25
          26     liable for wage and discrimination claims.”); Jones, 2005 WL 8177458, at *10

          27     (dismissing claims under the CEPA because “an individual supervisor could not be
          28
                                                            21
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            1    held personally liable under § 1197.5”); Evenfe v. Esalen Inst., 2016 WL 3965167, at
            2
                 *11 (N.D. Cal. July 24, 2016); Dkt. 30 at 22.
            3
            4            And with respect to the EPA, Warner fails to plausibly allege Weatherby is an

            5    “employer” who may be held liable. An individual employee may be held liable under
            6
                 the EPA6 only when he exercises “control over the nature and structure of the
            7
            8    employment relationship,” such that he has a “significant ownership interest with
            9    operational control of significant aspects of the corporation’s day-to-day functions; the
          10
                 power to hire and fire employees; the power to determine salaries; and the
          11
          12     responsibility to maintain employment records.” Boucher, 572 F.3d at 1091 (citation
          13     omitted).
          14
                         Warner has continuously failed to allege sufficient facts to meet this threshold.
          15
          16     Warner does not allege that Weatherby had any “ownership interest” in or “operational
          17     control” over Amazon—let alone a “significant ownership interest with operational
          18
                 control.” See id. (emphasis added). Warner now attempts to paint Weatherby as an
          19
          20     “employer” by alleging that he was “the head of an organization employing several
          21     thousand employees.” SAC ¶ 93. But just because Weatherby may be the head of
          22
                 ProServe, a single division within Amazon Web Services in which a fraction of its
          23
          24     employees work, does not mean that he holds a “significant ownership interest with
          25
                 operational control” over the whole company. See Boucher, 572 F.3d at 1091.
          26
          27
                 6
                     The definition of “employer” is the same under the EPA and FLSA. See Flores,
          28         2018 WL 3811725, at *5.
                                                             22
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            1            Unlike in Boucher, where managers were “employers” because they held 30
            2
                 percent ownership interest in a hotel, casino, and bowling center and had “control and
            3
            4    custody” over the plaintiff’s employment class, here, Warner fails to allege Weatherby

            5    owned any portion of Amazon, exercised any control over Amazon’s day-to-day
            6
                 functions, or maintained Amazon employees’ records. See id.; see Fenglin Zhang v.
            7
            8    Aicem Grp., LLC, 2014 WL 12678026, at *4 (N.D. Cal. Jan. 28, 2014) (individuals
            9    were not “employers” where the plaintiff did not “allege[] [they] had a significant
          10
                 ownership interest with operational control over significant aspects of [an elderly care
          11
          12     facility’s] day-to-day functions, the power to hire and fire employees, the power to
          13     determine salaries, or the responsibility to maintain employment records”).
          14
                         As Defendants pointed out in their prior Motion to Dismiss, the crux of the
          15
          16     “employer” analysis is whether the employee at issue “control[s] the very things”
          17     which allegedly led to the plaintiff’s pay discrimination claims. Baird v. Kessler, 172
          18
                 F. Supp. 2d 1305, 1312 (E.D. Cal. 2001), aff’d, 81 F. App’x 249 (9th Cir. 2003); Dkt.
          19
          20     30 at 23.7 Warner’s core theory is that Amazon failed to promote her to an L10,
          21     instead promoted Lavanty, and ultimately terminated her employment. Warner
          22
                 continues to set forth the same conclusory allegations that Defendants’ highlighted in
          23
          24     their previous briefing: that Weatherby “controlled the terms and conditions of her
          25
          26
          27      7
                      To the extent Warner argues that Weatherby should be held liable because he had
                      control over the decision to promote Lavanty, failure to promote allegations do not
          28          support an EPA claim. See supra at page 9.
                                                            23
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            1    employment[,] including her compensation,” and the ability to assign her “specific
            2
                 projects and duties,” FAC ¶¶ 37, 47, SAC ¶¶ 35, 45; Dkt. 30 at 24.
            3
            4          Warner still fails to plausibly allege that Weatherby was responsible for

            5    determining who would be selected for promotion within ProServe. Despite amending
            6
                 her Complaint in response to this same argument in Defendants’ two prior Motions to
            7
            8    Dismiss, Warner continues to allege that it was “Amazon’s decision to deprive Ms.
            9    Warner of opportunities for promotion into the L10 role” and “Amazon’s decision to
          10
                 promote Mr. Lavanty to an L10 role.” FAC ¶¶ 100, 102; SAC ¶¶ 104, 106 (emphases
          11
          12     added); see Dkt. 30 at 24. And with respect to Warner’s conclusory allegation that
          13     Weatherby “controlled . . . the ability to hire and fire,” FAC ¶ 37, SAC ¶ 35, her new
          14
                 claim that “[t]he approval of other Amazon officials was necessary” to terminate her
          15
          16     undercuts any plausible argument that Weatherby “controlled” that decision. SAC
          17     ¶ 174. Similarly, Plaintiff now concedes that “hiring and termination decisions” within
          18
                 ProServe were required to be “reviewed . . . by other Amazon personnel,” precluding
          19
          20     her claim. Id. ¶ 45; see Baird, 172 F. Supp. 2d at 1311 (supervisors and managers
          21     were not “employers” because “a crucial aspect of control [was] missing” where they
          22
                 only “recommended or reviewed the termination of other employees”). Such
          23
          24     barebones, contradictory allegations that Weatherby “controlled” Warner’s
          25
                 employment are insufficient to show that Weatherby was involved in allegedly
          26
                 discriminatory pay decisions, as required to hold him liable. See Banawis-Olila, 2016
          27
          28
                                                           24
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            1    WL 4070133, at *3 (dismissing EPA claim because bare assertions stating legal
            2
                 conclusions are “not entitled to a presumption of truth”).
            3
            4          As Defendants argued in their prior Motion to Dismiss, see Dkt. 30 at 24-25,

            5    courts in this Circuit repeatedly dismiss claims against individual employees based on
            6
                 such “conclusory allegations of control.” Ford v. Yasuda, 2014 WL 9887277, at *9-10
            7
            8    (C.D. Cal. July 30, 2014) (allegations that “an executive and owner of [defendant
            9    company] with the power to control the terms and conditions of Plaintiffs’
          10
                 employment” were insufficient); see, e.g., Evenfe, 2016 WL 3965167, at *10-11.
          11
          12     Therefore, the Court should dismiss Plaintiff’s claims against Weatherby.
          13                                     V.     CONCLUSION
          14
                       For the reasons set forth above, Plaintiff’s SAC should be dismissed with
          15
          16     prejudice. At a minimum, if the SAC is not dismissed in its entirety, Plaintiff’s claims
          17     against Weatherby should be dismissed with prejudice.
          18
          19     Dated:   August 26, 2022
          20                                            JASON C. SCHWARTZ
                                                        LAUREN M. BLAS
          21                                            ZAINAB N. AHMAD
                                                        GIBSON, DUNN & CRUTCHER LLP
          22
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          24                                                Lauren M. Blas
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